                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                     at KNOXVILLE
  JOHN R. COATES, et al.
  _______________________,                          )
                                                    )
  Plaintiff(s),                                     )
                                                    )                    3:20-cv-496
                                                                Case No. _______________
  v.                                                )
                                                    )
  LOWE'S HOME CENTERS, LLC, et al.,
  _______________________,                          )
                                                    )
  Defendant(s).                                     )

            NOTICE OF CONSENT / NON-CONSENT TO MAGISTRATE -8'*(

         All parties to the above-captioned civil matter are DIRECTED to select one of the
  following two options and, as soon as practicable, file a single joint copy of this document on the
  Court’s electronic case filing system.

           In accordance with the provisions of 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73, all parties
           to this action hereby consent to have a United States magistrate judge conduct all
           further proceedings in the above-captioned civil matter, including trial and entry of final
           judgment.

           Pursuant to 28 U.S.C. § 636(c)(3), any appeal from a judgment of the presiding
           magistrate judge shall be taken to the United States Court of Appeals in the same
           manner as an appeal from any other judgment of the District Court.


       ✔   The parties do not consent to proceed before a magistrate judge.


       Complete this section only if all parties have consented to proceed before a
  magistrate judge.

        If all parties to this action consent to proceed before a magistrate judge,
  each party must provide a representative signature below (electronic signatures
  and signatures by permission are acceptable):

  Parties’ printed names                Signature of parties/attorneys          Date

  _______________________               _________________________                _________

  _______________________               _________________________                _________

  _______________________               _________________________                _________

  _______________________               _________________________                _________

  _______________________               _________________________                _________

  _______________________               _________________________                _________

  (If necessary, include all additional parties on a separate sheet.)


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                                     10 Filed  11/24/20 Page
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                                                        Page 22 of
                                                                of 22 PageID
                                                                      PageID #:
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